USDC SDNY

UNITED STATES DISTRICT COURT DOCUMENT
SOUTHERN DISTRICT OF NEW YORK BEES LEON EEE FILED
BARING INDUSTRIES, INC.. DOC #:
DATE FILED: 11/14/2024
Plaintiff,
-against- 24 Civ. 5606 (AT)
JARED ROSEN, INDIVIDUALLY, and ORDER

MICHAEL J. NOONAN, INDIVIDUALLY,

Defendants.
ANALISA TORRES, District Judge:

The Court has reviewed the parties’ letters dated November 4 and November 12, 2024. ECF
Nos. 18, 22. Accordingly:

Defendants’ request to file a motion to dismiss is GRANTED;

By December 12, 2024, Defendants shall file their motion;

By December 31, 2024, Plaintiff shall file its opposition papers; and
By January 10, 2025, Defendants shall file their reply, if any.

PYwNP

SO ORDERED.

Dated: November 14, 2024
New York, New York

On-

ANALISA TORRES
United States District Judge

